                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION




 In the Matter of:                                }
                                                  }
                                                  }
 IN THE WIND, LLC                                 }   Case No. 19-81991-CRJ-11
                                                  }
                                                  }   Chapter 11
                                                  }
                                Debtor(s)         }
                                                  }
                                                  }

                 ORDER DENYING MOTION TO RETURN TO DOCKET


       Before the Court is the Motion to Return to Docket and Reset Hearings on EvaBank’s Two
Motions to Lift the Automatic Stay or, Alternatively, for the Grant of Adequate Protection
(“Motion to Return to Docket”), ECF No. 101. EvaBank alleges that the parties tentatively reached
an agreement to resolve two Motions for Relief from Stay filed by EvaBank and that the Debtor
has failed to submit proposed Orders memorializing the agreements and failed to comply with the
terms of either agreement.

       The Court has considered the requested relief and finds that the Motion to Return to Docket
should be denied because the remedy for any alleged breach of an agreement should be pursued
by seeking damages or other appropriate relief.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the Motion to
Return to Docket is DENIED.


Dated this the 15th day of October, 2019.

                                                      /s/ Clifton R. Jessup, Jr.
                                                      Clifton R. Jessup, Jr.
                                                      United States Bankruptcy Judge




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